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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

GEORGE MOORE, individually and on
behalf of all others similarly situated,
                                                     Case No. 1:18-cv-03285
       Plaintiff,

v.
                                                     CLASS ACTION COMPLAINT
E.R. INSURANCE ASSOCIATES, LLC,
ROBBYN CANNATELLI, EDWARD D.
CANNATELLI, INNOVATION GROUP
OF SOUTH FLORIDA, INC., and DOES 1-
10,
                                                     JURY DEMANDED
       Defendants.


       Now comes the Plaintiff, GEORGE MOORE, individually and on behalf of all others

similarly situated, and by and through his attorneys, and for his class action Complaint against the

Defendants, E.R. INSURANCE ASSOCIATES, LLC, ROBBYN CANNATELLI, EDWARD D.

CANNATELLI, INNOVATION GROUP OF SOUTH FLORIDA, INC., and DOES 1-10,

Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENTS

       1.      This is an action for damages, injunctive relief, and any other available legal or

equitable remedies, for violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C.

§ 227, et seq., resulting from the illegal actions of Defendants, in negligently, knowingly and/or

willfully placing through its agent(s), sales, solicitation and/or other telemarketing calls to

Plaintiff’s telephone numbers, in violation of the TCPA and related regulations, specifically the

National Do-Not-Call Registry and internal do-no-call provisions of 47 C.F.R. 64.1200(c) and (d),

thereby invading Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as to
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himself and his own acts and experiences, and, as to all other matters, upon information and belief,

including investigation conducted by his attorneys.

        2.      According to the Federal Communications Commission’s website, accessed on

May 6, 2018 at http://www.fcc.gov/consumers/guides/stop-unwanted-calls-texts-and-faxes:

                The national Do Not Call list protects home voice or personal
                wireless phone numbers. You can register your numbers on the
                national Do Not Call list by phone or on the Internet at no cost…
                Callers are prohibited from making telephone solicitations to any
                numbers on the Do Not Call list. Your numbers will remain on the
                list until you remove them or discontinue service – there is no need
                to re-register numbers. Telemarketers must remove your numbers
                from their call lists and stop calling you within 31 days from the date
                you register.

                                  JURISDICTION AND VENUE

        3.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as this civil action arises

under a law of the United States, the TCPA.

        4.      This Court has general personal jurisdiction over Defendants because they are

actively engaged in selling their products and services throughout Illinois and the United States.

        5.      This Court has specific personal jurisdiction over Defendants because they caused

telephone calls at issue in this case to be placed to Plaintiff, who lives in Illinois, at a telephone

number bearing an Illinois area code.

        6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to this claim occurred in this District and Plaintiff resides

within the Northern District of Illinois.

                                              PARTIES

        7.      Plaintiff is an individual who was at all relevant times residing in the City of Carol

Stream, County of DuPage, and State of Illinois.

        8.      Plaintiff is a “person” as defined by 47 U.S.C. § 153 (39).
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        9.     On information and belief, Defendant E.R. INSURANCE ASSOCIATES, LLC

(“ERIA”) is a limited liability company of the State of Florida, which is authorized to do business

in Illinois, and whose principal place of business is located in Pompano Beach, Florida.

        10.    On information and belief, Defendant INNOVATION GROUP OF SOUTH

FLORIDA, INC. (“IGSF”) is a corporation of the State of Florida, which is authorized to do

business in Illinois, and whose principal place of business is located in Deerfield Beach, Florida.

        11.    On information and belief, Defendant ROBBYN CANNATELLI is an individual

who resides in the State of Florida, and who is an owner and/or Managing Member of Defendant

ERIA.

        12.    On information and belief, Defendant EDWARD D. CANNATELLI is an

individual who resides in the State of Florida, and who is an owner and/or Managing Member of

Defendant ERIA.

        13.    On information and belief, at all times relevant hereto, Defendants were engaged

in the marketing and sale of various insurance products and services.

        14.    Defendants are both a “person” as defined by 47 U.S.C. § 153(39).

        15.    The true names and capacities of the Defendants sued herein as DOES 1-10 are

currently unknown to Plaintiff, who therefore sues such Defendants by fictitious names. Each of

the Defendants designated herein as a Doe is legally responsible for the unlawful acts alleged

herein. Plaintiff will seek leave of Court to amend his complaint to reflect the true names and

capacities of the Doe Defendants when such identities become known.

        16.    Plaintiff is informed and believes that at all relevant times, each and every

Defendant was acting as an agent and/or employee of each of the other Defendants and was acting

within the course and scope of said agency and/or employment with the full knowledge and



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consent of each of the other Defendants. Plaintiff is informed and believes that each of the acts

and/or omissions complained of herein was made known to, and ratified by, each of the other

Defendants.

                                FACTS COMMON TO ALL COUNTS

          17.   On or about July 6, 2003, Plaintiff successfully registered his telephone number

ending in -1188 with the National Do-Not-Call Registry.

          18.   On or about July 8, 2017, Plaintiff successfully registered his telephone number

ending in -8035 with the National Do-Not-Call Registry

          19.   On or about July 26, 2017, Defendants began placing unsolicited telemarketing

telephone calls to Plaintiff.

          20.   Plaintiff has not previously sought out Defendants’ services, nor has Plaintiff

attempted to retrieve information from Defendants about their services. Therefore, Plaintiff did

not have an established business relationship with either Defendant, as defined under 16 C.F.R. §

310.4(b)(iii)(B)

          21.   From on or about July 26, 2017 through on or about October 5, 2017, Plaintiff

received approximately 49 unsolicited telemarketing telephone calls from Defendants.

          22.   On or about August 8, 2017, Defendants placed one such unsolicited telemarketing

telephone call to Plaintiff, who informed the caller that he did not wish to be contacted again.

          23.   On or about August 15, 2017, Defendants placed another unsolicited telemarketing

telephone call to Plaintiff, who informed the caller that he did not wish to be contacted in the

future.

          24.   Despite Plaintiff’s requests, Defendants’ unsolicited telemarketing telephone calls

to Plaintiff continued.



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        25.     The calls were a nuisance to Plaintiff.

        26.     On information and belief, Defendants Robbyn Cannatelli and Edward D.

Cannatelli maintained control over each of the other Defendants’ activities alleged herein and/or

participated in the activities alleged herein.

                                     CLASS ALLEGATIONS

        27.     Plaintiff brings this action on behalf of himself and all others similarly situated, as

a member of the following proposed class (the “National Do-Not-Call Class”) defined as follows:

                All residential telephone subscribers within the United States whose
                telephone numbers were registered on the National Do-Not-Call
                Registry for at least 30 days, who had not granted Defendants prior
                express consent nor had a prior established business relationship
                with Defendants, or who had revoked such consent and prior
                established business relationship, who received more than one call
                made by or on behalf of Defendants that promoted Defendants’
                products or services, within any 12-month period, within four years
                prior to the filing of the complaint.

        28.     Plaintiff also brings this action on behalf of himself and all others similarly situated,

as a member of the following proposed class (the “Internal Do-Not-Call Class”) defined as follows:

                All residential telephone subscribers within the United States who
                requested that Defendants not place calls to them for telemarketing
                purposes, who received at least one such call made by or on behalf
                of Defendants that promoted Defendants’ products or services, more
                than 30 days after the date such request was made, and within four
                years prior to the filing of the complaint.

        29.     Defendants, their employees and agents are excluded from the National Do-Not-

Call Class and the Internal Do-Not-Call Class. Plaintiff does not know the number of members in

the Classes, but believes the National Do-Not-Call Class and Internal Do-Not-Call Class members

number in the hundreds, if not more. Thus, this matter should be certified as a Class Action to

assist in the expeditious litigation of the matter.




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       30.       The National Do-Not-Call Class and Internal Do-Not-Call Classes are so numerous

that the individual joinder of all of their members is impractical. While the exact number and

identities of the National Do-Not-Call Class and Internal Do-Not-Call Class members are

unknown to Plaintiff at this time and can only be ascertained through appropriate discovery,

Plaintiff is informed and believes and thereon alleges that National Do-Not-Call Class and the

Internal Do-Not-Call Class include hundreds, if not thousands of members. Plaintiff alleges that

the Classes’ members may be ascertained by the records maintained by Defendant.

       31.       This suit is properly maintainable as a class action pursuant to Fed. R. Civ. P. 23(a)

because the Classes are so numerous that joinder of the Class members is impractical and the

disposition of their claims in the Class Action will provide substantial benefits both to the parties

and the Court.

       32.       There are questions of law and fact common to the National Do-Not-Call Class and

the Internal Do-Not-Call Class affecting the parties to be represented. The questions of law and

fact common to the Classes predominate over questions which may affect individual Class

members and include, but are not necessarily limited to, the following:

                 a.     Whether the Class members’ telephone numbers were called by Defendants

                        without Defendants having obtained prior express consent to place such

                        calls;

                 b.     Whether the National Do-Not-Call Sub-Class members’ telephone numbers

                        were called by Defendants more than 30 days after they registered such

                        numbers on the National Do-Not-Call Class registry;




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               c.      Whether the Internal Do-Not-Call Sub-Class members’ telephone numbers

                       were called by Defendants more than 30 days after the date the members’

                       requested their numbers be added to Defendants’ internal do-not-call list;

               d.      Whether Defendants violated the TCPA, 47 U.S.C. § 227, et seq., by placing

                       telephone calls to the National Do-Not-Call Class members without proper

                       consent; and

               e.      Whether Defendants violated the TCPA, 47 U.S.C. § 227, et seq., by placing

                       telephone calls to the Internal Do-Not-Call Class members without proper

                       consent.

         33.   As a residential telephone subscriber who received telephone calls, made by or on

behalf of Defendants, without his consent, after his telephone numbers were registered on the

National Do-Not-Call Registry for at least 30 days, within four years prior to the filing of this

Complaint, Plaintiff is asserting claims that are typical of the National Do-Not-Call Class.

         34.   As a residential telephone subscribers who received telephone calls, made by or on

behalf of Defendants, without his consent, at least 30 days after her requested his telephone

numbers be added to Defendants’ internal do-not-call registry, within four years prior to the filing

of this Complaint, Plaintiff is also asserting claims that are typical of the Internal Do-Not-Call

Class.

         35.   Plaintiff has no interests adverse or antagonistic to the interests of the other

members of the Classes.

         36.   Plaintiff will fairly and adequately protect the interests of the members of the

National Do-Not-Call Class and the Internal Do-Not-Call Class. Plaintiff has retained attorneys

experienced in the prosecution of class actions.



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       37.     A class action is superior to other available methods of fair and efficient

adjudication of this controversy, since individual litigation of the claims of all Class members is

impracticable. Even if every Class member could afford individual litigation, the court system

could not. It would be unduly burdensome to the courts in which individual litigation of numerous

issues would proceed. Individualized litigation would also present the potential for varying,

inconsistent or contradictory judgments and would magnify the delay and expense to all parties,

and to the court system, resulting from multiple trials of the same complex factual issues. By

contrast, the conduct of this action as a class action presents fewer management difficulties,

conserves the resources of the parties and of the court system and protects the rights of each Class

member. Class treatment will also permit the adjudication of relatively small claims by many Class

members who could not otherwise afford to seek legal redress for the wrongs complained of herein.

       38.     The prosecution of separate actions by individual Class members would create a

risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

interests of the other Class members not parties to such adjudications or that would substantially

impair or impede the ability of such non-party Class members to protect their interests.

       39.     Defendant has acted or refused to act in respect generally applicable to the National

Do-Not-Call Class and the Internal Do-Not-Call Class, thereby making appropriate final and

injunctive relief with regard to the members of Classes as a whole.

       40.     Defendant failed to comply with the requirements of the TCPA, including but not

limited to 47 C.F.R. § 64.1200(c) and (d), as to the Class and the Sub-Class members with respect

to the above-alleged transactions.

       41.     47 C.F.R. § 64.1200(c)(2) provides that:

               [n]o person or entity shall initiate any telephone solicitation to…[a]
               residential telephone subscriber who has registered his or her

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               telephone number on the national do-not-call registry of persons
               who do not wish to receive telephone solicitations that is maintained
               by the Federal Government.

       42.     47 C.F.R. § 64.1200(d) provides that:

               No person or entity shall initiate any call for telemarketing purposes
               to a residential telephone subscriber unless such person or entity has
               instituted procedures for maintaining a list of persons who request
               not to receive telemarketing calls made by or on behalf of that
               person or entity. The procedures instituted must meet the following
               minimum standards:
               …
               (3) Recording, disclosure of do-not-call requests. If a person or
               entity making a call for telemarketing purposes (or on whose behalf
               such a call is made) receives a request from a residential telephone
               subscriber not to receive calls from that person or entity, the person
               or entity must record the request and place the subscriber's name, if
               provided, and telephone number on the do-not-call list at the time
               the request is made. Persons or entities making calls for
               telemarketing purposes (or on whose behalf such calls are made)
               must honor a residential subscriber's do-not-call request within a
               reasonable time from the date such request is made. This period may
               not exceed thirty days from the date of such request.

       43.     In multiple instances, Defendants called the National Do-Not-Call Class and

Internal Do-Not-Call Class members without the members’ prior express consent, and after the

members registered with the federal government’s Do-Not-Call list, in violation of the TCPA, 47

U.S.C. § 227, et seq., and 47 C.F.R. 64.1200(c).

       44.     In addition, on information and belief, Defendants have not instituted procedures

for maintaining a list of persons who request not to receive telemarketing calls made by or on

behalf of Defendants, in violation of the TCPA, 47 U.S.C. § 227, et seq., and 47 C.F.R. 64.1200(d).

       45.     The size and definition of the National Do-Not-Call Class and the Internal Do-Not-

Call Class can be identified through Defendants’ records and/or Defendants’ agents’ records.




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                                      COUNT I
                         NEGLIGENT VIOLATIONS OF THE TCPA
                                 47 C.F.R. 64.1200(c)

        46.    Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 45 above as if reiterated herein.

        47.    The foregoing acts and omissions of Defendants constitute numerous and multiple

negligent violations of the TCPA, including, but not limited to, each and every one of the above

cited provisions of 47 U.S.C. § 227, et seq., including the implementing regulations of 47 C.F.R.

64.1200(c).

        48.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227, et seq., Plaintiff

is entitled to an award of $500.00 in statutory damages for each and every violation, pursuant to

47 U.S.C. § 227(c)(5).

        49.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in

the future.

                                  COUNT II
                 KNOWING AND/OR WILLFUL VIOLATIONS OF TCPA
                              47 C.F.R. 64.1200(c)

        50.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 49 above as if reiterated herein.

        51.    The foregoing acts and omissions of Defendants constitute numerous and multiple

knowing and/or willful violations of the TCPA, including, but not limited to, each and every one

of the above-cited provisions of 47 U.S.C. § 227, et seq., including the implementing regulations

of 47 C.F.R. 64.1200(c).




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        52.    As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. § 227, et

seq., Plaintiff is entitled to an award of $1,500.00 in statutory damages for each and every

violation, pursuant to 47 U.S.C. § 227(c)(5).

        53.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in

the future.

                                     COUNT III
                         NEGLIGENT VIOLATIONS OF THE TCPA
                                 47 C.F.R. 64.1200(d)

        54.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 53 above as if reiterated herein.

        55.    The foregoing acts and omissions of Defendants constitute numerous and multiple

negligent violations of the TCPA, including, but not limited to, each and every one of the above

cited provisions of 47 U.S.C. § 227, et seq., including the implementing regulations of 47 C.F.R.

64.1200(d).

        56.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227, et seq., Plaintiff

is entitled to an award of $500.00 in statutory damages for each and every violation, pursuant to

47 U.S.C. § 227(c)(5).

        57.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in

the future.

                                 COUNT IV
              KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                             47 C.F.R. 64.1200(d)

        58.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 57 above as if reiterated herein.




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        59.    The foregoing acts and omissions of Defendants constitute numerous and multiple

knowing and/or willful violations of the TCPA, including, but not limited to, each and every one

of the above-cited provisions of 47 U.S.C. § 227, et seq., including the implementing regulations

of 47 C.F.R. 64.1200(d).

        60.    As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. § 227, et

seq., Plaintiff is entitled to an award of $1,500.00 in statutory damages for each and every

violation, pursuant to 47 U.S.C. § 227(c)(5).

        61.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in

the future.

                                    PRAYER FOR RELIEF

        Wherefore, Plaintiff prays for a judgment against Defendants as follows:

               a.     An order certifying the National Do-Not-Call Class, and the Internal Do-

                      Not-Call Class, and appointing Plaintiff as Representative of the National

                      Do-Not-Call Class, and the Internal Do-Not-Call Class;

               b.     An order certifying the undersigned counsel as Counsel for the National Do-

                      Not-Call Class, and the Internal Do-Not-Call Class;

               c.     An order requiring Defendants, at their own cost, to notify all National Do-

                      Not-Call Class and Internal Do-Not-Call Class members of the unlawful

                      conduct herein;

               d.     Judgment against Defendants in the amount of $500.00 in statutory

                      damages for each and every negligent violation of the TCPA by Defendants;




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         e.      Judgment against Defendants in the amount of $1,500.00 in statutory

                 damages for each and every knowing and/or willful violation of the TCPA

                 by Defendants;

         f.      An order for injunctive relief prohibiting such conduct by Defendants in the

                 future;

         g.      Judgment against Defendants for Plaintiff’s court costs and other litigation

                 costs; and

         h.      Any other relief deemed just and proper by this Court.



                                   JURY DEMAND

  Plaintiffs demand a trial by jury on all issues in this action which are so triable.



                                      RESPECTFULLY SUBMITTED,

                                      GEORGE MOORE

                                      By:     /s/ David B. Levin
                                              Attorney for Plaintiff
                                              Illinois Attorney No. 6212141
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on May 8, a copy of the foregoing Plaintiff’s Complaint was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic filing receipt.


                                                       /s/ David B. Levin
                                                       Attorney for Plaintiff




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